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EXHIBIT “A”

 
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

CAPITAL FLIP, LLC, CIVIL DIVISION
Plaintiff, No.:
v. COMPLAINT
AMERICAN MODERN SELECT Filed on Behalf of Plaintiff:
INSURANCE COMPANY, CAPITAL FLIP, LLC
Defendant. Counsel of Record for These Parties:

Brad N. Sommer, Esquire
PA ID No.: 87312

Robert S. Richman, Esquire
PA ID No.: 88673

SOMMER LAW GROLP, P.C.
6 Market Square

Pittsburgh, PA 15222

Phone: (412) 471-1266

Fax: (412) 471-3175
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

CAPITAL FLIP, LLC, CIVIL DIVISION
Plaintiff, No.:
Vv.

AMERICAN MODERN SELECT
INSURANCE COMPANY,

Defendant.

NOTICE TO DEFEND

You have been sued in court. If you wish to defend against the claims set forth in the following
pages, you must take action within thirty (30) days after this Complaint and notice are served, by
entering a written appearance personally or by attorney and filing in writing with the court your
defenses or objections to the claims set forth against you. You are warned that if you fail to do so
the case may proceed without you and a judgment may be entered against you by the court
without further notice for any money claimed in the complaint or for any other claim or relief
requested by the plaintiff. You may lose money or property or other rights important to you,

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.

Pennsylvania Lawyer Referral Service
(800) 692-7375
Pennsylvania Bar Association
100 South St., P.O. Box 186, Harrisburg 17108
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
CAPITAL FLIP, LLC, CIVIL DIVISION
Plaintiff, No.:
v.

AMERICAN MODERN SELECT
INSURANCE COMPANY,

Defendant.
COMPLAINT IN CIVIL ACTION
AND NOW, comes the Plaintiff, Capital Flip, LLC, by and through its attorneys,
Sommer Law Group, P.C., and hereby files the following Complaint in Civil Action, averring as
follows:
GENERAL ALLEGATIONS

1. Plaintiff, Capital Flip, LLC (hereinafter “Plaintiff’), is a Pennsylvania corporation with
its principal place of business at 6 Market Square, Pittsburgh, Pennsylvania 15222.

2. Defendant, American Modern Select Insurance Company (hereinafter ‘““Defendant’’), is an
Ohio corporation with its principal place of business at 700 Midland Boulevard, Amelia, Ohio
45201,

3. Plaintiffis the owner of the property located at 1419 Iroquois Drive, Pittsburgh,
Pennsylvania 15205 (hereinafter ‘“Property’”).

4, The subject Property is insured by Defendant through Plaintiff's Dwelling Policy: Policy
No, 0850048537190 (hereinafter “Policy’), Attached hereto as Exhibit A.”

5. On or about April 24, 2018, the Plaintiff suffered major damage to the Subject Premises

resulting from raccoons that had gained entrance to the Property.
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6. On or about May 6, 2018, Defendant issues a letter to Plaintiff denying coverage of the
claim. Sce Exhibit “B” Denial Letter.

7, Defendant denied the claim, citing animals/animals damaging the dwelling and stating
that this type of damage was not included under the Perils Insured Against section of Plaintiff's
policy. Page 3; Dwelling Property Basic Form.

8. Under the Policy, Plaintiffs claim is specifically insured and covered under Perils
Insured Against, Page 4 Section 10, which covers Vandalism and Malicious Mischief.

COUNT I - BREACH OF CONTRACT

9. Plaintiff, Capital Flip, LLC, hereby incorporates by reference Paragraphs | through 8 of
this Complaint as though fully set forth at length herein.

10, Capital Flip, LLC and American Modern Select Insurance Company entered into an
insurance policy agreement (hereinafter “Policy’’) to provide coverage for the Property.

11. The property, located at 1419 Iroquois Drive, Pittsburgh, Pennsylvania, 15205 is covered
under the policy.

12. The Policy created a contractual duty, by American Modern Select Insurance Company,
to provide Capital Flip, LLC with property coverage in conformity with the specifications of the
contract.

13. Specifically, the Policy provided coverage under the section entitled “PERILS INSURED
AGAINST.” Page 3; Dwelling Property Basic Form

14. Section 10 of “PERILS INSURED AGAINST,” located on Page provides coverage for
“Vandalism or Malicious Mischief.” Page 4; Dwelling Property Basic Form

15. The policy fails to define both “vandalism” and “malicious mischief,” creating an issue of

ambiguity as to what both terms encompass in relation to this Policy’s coverage.
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16, Additionally, the General Exclusions section of the Policy, which explicitly states all
events not covered by the Plaintiff's Policy, does not contain a provision detailing animals or
damage caused by animals. Pages 4-5; Dwelling Property Basic Form

17. On or about April 24, 2018, the Plaintiff suffered extensive damage to the Property.

18, The extensive damage was caused as a result of numerous raccoons gaining entrance to
the interior of the Property.

19, The Policy, under the section entitled “PERILS INSURED AGAINST,” provides
coverage for damage to property caused by vandalism or malicious mischief. Page 4, Section 10;
Dwelling Basic Property Form

20. Further, the Policy provides coverage under any other applicable provision of the Policy.

21, Plaintiff suffered compensable damage to its Property when numerous raccoons gained
entrance to it and Plaintiff reported such damage to the Defendant, in a timely manner, in
accordance with its obligation to do so under the Policy.

22. Defendant contends that animals cannot form intent and therefore can’t cause malicious
mischief; however, recent studies in animal science show just the opposite.

23. The Policy as a whole provided coverage against the loss suffered by the Plaintiff.

24, On or about May 6, 2018, Defendant issued a letter to Plaintiff denying coverage of the
claim. See Exhibit “B” Denial Letter.

25. The letter of denial issued to the Plaintiff by the Defendant stated:

Since your loss was the result of an animal or animals damaging the
dwelling and this is not covered in the list of perils, as stated above, there

is no coverage under your policy for the Joss. Therefore, your claim is
respectfully denied.

26. The Defendant also issued to the Plaintiff a second denial letter an September 7, 2018
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reinforcing the Defendant’s denial. Attached hereto as Exhibit “C” is a true and correct copy of
the second denial.
27. The Policy is ambiguous as it fails to define both vandalism and malicious mischief,
28. All conditions precedent to the recovery under the insurance contract have been satisfied,
and as a result, Defendant is in breach of contract with Plaintiff due to:
a. Failure to fully pay Plaintiff's claim; and/or
b. Arbitrary failure to pay Plaintiff's claim; and/or
c. Unreasonable delay in payment of Plaintiffs claim; and/or
d. Denial of payment due and owing under the Policy in complete disregard of
Plaintiff’s need for compensation for various expenses; and/or
e. Failure to process and to pay Plaintiffs claim in the absence of a colorable
justification or excuse; and/or
f. Misconduct which forced Plaintiff to institute litigation so as to obtain
consideration of its claim.

WHEREFORE, Plaintiff Capital Flip, LLC, demands judgment against Defendant,
American Modern Select Insurance Company, to recover the requested damages pursuant to its
valid policy of insurance, loss of rent, in an amount in excess of the arbitration limits of the court
of Common Pleas of Allegheny County.

COUNT LI — INSURANCE BAD FAITH
29, Plaintiff, Capital Flip, LLC, hereby incorporated by reference Paragraphs 1 through 28 of
its complaint as though fully set forth at length herein.

30, Subsequent to Plaintiff suffering damage from the raccoons, Plaintiff filed with
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Defendant a timely damage claim in accordance with its obligation to do so pursuant to the
insurance policy,

31. Defendant’s letter, dated May 6, 2018, referred Plaintiff to the portion of the policy
entitled “Perils Insured Against” which, in part, provides for inclusion for property damage
caused by “vandalism or malicious mischief.”

32, Plaintiff suffered compensable damage to its property when numerous raccoons gained
entrance to it and Plaintiff reported such damage to the Defendant, in a timely manner, in
accordance with its obligation to do so under the insurance policy.

33. The Policy, under the section entitled “PERILS INSURED AGAINST,” provides
coverage for damage to property caused by vandalism or malicious mischief. Page 4, Section 10;
Dwelling Basic Property Form

34, Further, the Policy provides coverage under any other applicable provision of the Policy.

35, Defendant has knowledge that loss occurred from raccoons gaining entrance to the
property, and that the loss was specifically covered under Section 10, yet still cited ambiguous
language intentionally and in bad faith to deny coverage.

36. Defendant’s conduct violated its fiduciary, contractual, and/or statutory duties by acting
in bad faith in violation of 42 Pa.C.S.A. $8371.

37, Defendant is in breach of contract with Plaintiff due to:

a. Failure to fully pay Plaintiffs claim; and/or

b. Arbitrary failure to pay Plaintiff's claim; and/or

c. Unreasonable delay in payment of Plaintiffs claim; and/or

d. Denial of payment due and owing under the Policy in complete disregard of

Plaintiff's need for compensation for various expenses; and/or
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e. Failure to process and to pay Plaintiff's claim in the absence of a colorable
justification or excuse; and/or

f. Misconduct which forced Plaintiff to institute litigation so as to obtain
consideration of its claim.

38. Further, Defendant’s failure to provide coverage for the claim coupled with its bad faith
in denying coverage for the claim is contrary both to established Pennsylvania law and the stated
purpose of the underlying insurance policy itself.

39. As a direct and proximate cause of Defendant’s bad faith, Plaintiff has been denied the
benefits to’ which it is entitled, and, as a result, has expended time, money, and effort in
attempting to collect these benefits,

40. Therefore, Plaintiff requests:

a, Delay Damages, amounting to any interest on Plaintiff's claim from the date the
claim was made of due or payable, in an amount equal to the prime rate of interest
plus three percent (3%);
b. Attorneys’ fees and court costs;
c. Punitive damages; and
d. Any and all further damages as deemed just and proper by the Court.
WHEREFORE, Plaintiff Capital Flip, LLC, demands judgment against Defendant,
American Modern Select Insurance Company, to recover the requested damages pursuant to its
valid policy of insurance, and loss of rent, in an amount in excess of the arbitration limits of the

Court of Common Pleas of Allegheny County.
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Respectfully Submitted,

SOMMER LAW GROUP, P.C.

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BRAD'N SOMMER, ESQUIRE

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VERIFICATION
The undersigned hereby verifies that the statements made in the within pleading are true
and correct to the best of their knowledge, information, and belief, and are made subject to the

penalties of 18 Pa.C.S.A. §4906 relating to unsworn falsification to authorities.

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Date: November 29, 2018 Pai va /~\ vo
“Bray, Sotpfner

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CERTIFICATE OF COMPLIANCE
I certify that this filing complies with the provisions of the Case Records Public Access
Policy of the Unified Judicial System of Pennsylvania that require filing confidential information

and documents differently than non-confidential information and documents.

we

Submitted by: Plaintiffs counsel a
Signature: ay

Name: Brad N, Sofrimer Esq.
Attorney SORE 12 , J
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing has been served via First

Class Mail, upon the following individual(s) listed below, on this 29" day of November 2018 as

follows:

American Modern Select Insurance Company
7000 Midland Boulevard
Amelia, Ohio 45102

 

BRADW, epee
/ ;

 
 

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DECLARATION PAGE 5182

POLICY NUMBER: 0850048537190

yO POL,

YS AMERICAN MODERN SELECT INSURANCE COMPANY
American

MODERN, OWELLING POLICY DECLARATIONS

 

NAMED INSURED:

CAPITAL FLIP LLC BRAD SOMMER
6 MARKET SQ

PITTSBURGH PA 15222

986950

MAIL TO: NO85S 039595 0048537190 37 WEB
CAPITAL FLIP LLC BRAD SOMMER

6 MARKET SO

PITTSBURGH PA 16222

AGENT 039595:

WN TUSCANO AGENCY INC
PO BOX 1027
GREENSBURG PA 15601

BROKER 986950:

JOHN JOSEPH SUPPA
2520 MATTERHORN DR

WEXFORD PA 15090
PHONE; (412) 238-8200

POLICY PERIOD:

FROM: MAR 16, 2018 TO: MAR 16, 2019
12:01 A.M. STANDARD TIME

AT INSURED PROPERTY ADDRESS

LIENHOLDER 1:

INSURED PROPERTY:
, NONE

‘IROQUOIS DR
SBURGH PA 15205-5204

 
  

 

 

 

1 VACANT FRAME ONE FAMILY TWO STORY 05 65
THIS POLICY PROVIDES ONLY THE FOLLOWING COVERAGES FOR THIS UNIT:
[SECTION ITEM COVERAGE LIMIT PREMIUM |
| COVERAGE A DWELLING (DP-1),FIRE & EXT. COV, $55,000 $571.00
1 DEDUCTIBLE SUBJECT TO ALL PERILS $1,000
1 OPT'L COVG VANDALISM OR MALICIOUS MISCHIEF $39.00
1 DEDUCTIBLE VANDALISM OR MALICIOUS MISCHIEF $500
2 PREMISES LIABILITY - EA. OCC, $500,000 $135.00
2 PREMISES MED PAY EA. PERSON $5,000
2 PREMISES MED PAY EA. OCC, $25,000
1 RENOVATION AMT INCL IN COVG A $50,000 $28.00
BUILDER’S RISK ENDT WILL ATTACH
1 SETTLEMENT DWELLING ACTUAL CASH VALUE
MINIMUM WRITTEN AND/OR EARNED MAY APPLY — TOTAL PREMIUM $773.00

****THIS. POLICY DOES NOT INCLUDE FLOOD COVERAGE. ** **
****THIS POLICY DOES NOT INCLUDE EARTH MOVEMENT AND EARTHQUAKE COVERAGE. ****
IF YOU CANCEL THIS POLICY EARLY, A MINIMUM EARNED PREMIU ¥.

   

{CONTINUED ON REVERSE SIDE)
ENDORSEMENT FORMS APPLICABLE TO THIS POLICY

S1X37 05/05; DIN85 08/17; FDN37 04/17; IN150 06/12; IN 04/09;
PAN3?7 06/17; PLS37 01/10; $D137 06/07; 73258 12/03; DBR3?7 02/12;
DPC37 03/12; PLU37 12/07; $1237 02/12; $1937 05/05; S1W37 05/05;
SDT37 05/06;

BILL TO INSURED
OATE PREPARED: MAR 165, 2018

FORM NO. 0110-4289 (05/92) INSURED'S COPY
Case 2:19-cv-00180-PJP Document 1-2 Filed 02/19/19 Page 15 of 61

INSURED NAME: A PITAL FLIP LLC BRAD SOMMER POLICY NUMBER: 08500485371

ADDITIONAL INSURED: LIENHOLDER 2:
NONE NONE

PLEASE REVIEW THE INFORMATION CONTAINED IN THIS POLICY
IF ANY INFORMATION IS INCORRECT, PLEASE CONTACT CUSTOMER SERVICE:

JOHN JOSEPH SUPPA
PHONE: (412) 238-8200

CLAIMS TELEPHONE NUMBER: 1-800-543-2644
HOURS: 8:00 A.M. - 7:00 P.M, EST/EDT

AMERICAN MODERN INSURANCE GROUP
MAILING ADDRESS MAIN ADMINISTRATIVE OFFICE
POST OFFICE BOX 5323 7000 MIDLAND BOULEVARD
CINCINNATI, OHIO 45201-5323 AMELIA, OHIO 45102-2607

 

 

 

 
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Case 2:19-cv-00180-PJP Document 1-2 Filed 02/19/19 Page 16 of 61

HERE ARE YOUR INSURANCE IDENTIFICATION CARDS.
PLEASE DETACH AND SEPARATE CARDS AS NEEDED,

AMERICAN MODERN SELECT INSURANCE COMPANY

P.O, BOX §923
CINCINNATI OH 45201-5923
1-800-549-2644

POLICY HOLDER INFORMATION CARD

EFFECTIVE; MAR, 16, 2018

EXPIRATION: MAR. 16, 2019

POLICY

NUMBER: 0850048537190

INSURED: CAPITAL FLIP LLC BRAD SOMMER

{OETACH HERE)

EFFECTIVE:

AMERICAN MODERN SELECT INSURANCE COMPANY
P.O, BOX §323
CINCINNATI OH 45201-5923
1-800-543-2644

POLICY HOLDER INFORMATION CARD

MAR, 16, 2018

EXPIRATION: MAR. 16, 2019

POLICY

NUMBER:

INSURED:

0850048537190

CAPITAL FLIP LLC BRAD SOMMER

PLEASE REMOVE THESE SIDE STRIPS FIRST
 

 

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Oi American
MODERN.

SLR

DWELLING PROPERTY
BASIC FORM -

PENNSYLVANIA

 

AMERICAN MODERN HOME INSURANCE COMPANY

AMELIA, OHIO

MAIN ADMINISTRATIVE OFFICE
MAILING ADDRESS
P.O. BOX 5323
CINCINNATI, OHIO 45201-5323
1-800-543-2644

 

 
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AMERICAN MODERN HOME INSURANCE COMPANY
A Stock Insurance Company

AMELIA, OHIO
IMPORTANT

This policy has been written in readable language to help you understand its terms,

PLEASE READ YOUR POLICY CAREFULLY

For service, information or questions on this policy, contact your agent or our Home Office. Our phone
numberis 1-B00-543-2644,

 

TABLE OF CONTENTS

Beginning on Page
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Coverage B- Other Structures ....cccccccccccecssescsecseueeseseusereeesvave tee cbe cece eee eee 1
Coverage C - Personal Property ...cccccecscssecscseceevesecsseussecetuavesssuuuesteuuecsuuueeseces 1-2
Coverage D - Fair Rental Value 00... ccccicscecscecccceusneaureceeesessesensrnbeetecueerercceescae 2
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$D137 (06/07)
 

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Ve will provide the insurance described in this polic

in return for the premium and compliance with all
applicabie provisions of this policy.

 

In this policy, "you" and "your" refer to the Named
insured shown in the Declarations and the spouse if

a resident of the same household,

"We" "us" and

"our" refer to the Company providing this insurance.

1.

“Actual cash value" means the amount it would
cost to repair or replace covered property, at the
time of loss or damage, with material of like
kind and quality, subject to a deduction for
deterioration, depreciation and obsolescence.
"Actual cash value” applies to valuation of
covered property regardless of whether that
property has sustained partial or total loss or
damage.

The “actual cash value" of the lost or damaged
property may be significantly less than its
replacement cost.

"Pollutants" means any solid, liquid, gaseous or
thermal irritant or contaminant, including smoke,

Vapor, soot,-fumes;-acids,-alkalis; chemicals-and- ~~

waste. Waste includes materials to be
recycled, reconditioned or reclaimed. This
exclusion applies whether or not the property
has been physically damaged,

 

This insurance applies to the Described Location,
Coverages for which a Limit of Liability is shawn and
PERILS INSURED AGAINST for which a premium is
stated,

COVERAGE A - DWELLING

1.

We cover:

a. the dwelling oan the Described Location
shown in the Declarations, used principally
for dwelling purposes, including structures
attached to the dwelling:

b. materials and supplies located on or next to
the Described Location used to construct,
alter or repair the dwelling or other
structures on the Described Location; and

c. if not otherwise covered in this policy,
building equipment and outdoor equipment
used for the service of and located on the
Described Lacation.

S185 |

2. This coverage does not apply to land,
including land on which the dwelling is
located,

COVERAGE B - OTHER STRUCTURES

1,

We cover other structures on the Described
Location, set apart from the dwelling by clear
space. This includes structures connected to
the dweiling by only a fence, utility line, or
similar connection.

This coverage does not apply to land, including
land on which the other structures are located.

We do not cover other structures:

a. used in whole of in part for commercial,
manufacturing or farming purposes; or

b. rented or held for rental to any person not a
tenant of the dwelling, unless used solely
as a private garage.

COVERAGE C - PERSONAL PROPERTY

We cover personal property, usual to the occupancy
as a dwelling and owned aor used by you or members

of your family residin
Described Location.

with you while it is on the
t your request, we will cover

personal property owned by a guest or servant while
the property is on the Described Location,

Property Not Covered, We do not cover:

1.

accounts, bank notes, bills, bullion, coins,
currency, deeds, evidences of debt, gold other
than goldware, letters of credit, manuscripts,
medals, money, notes other than bank notes,
passports, personal records, platinum,
securities, silver other than silverware, tickets
and stamps;

animals, birds or fish;

alrcraft and parts. Aircraft means any
contrivance used or designed for flight, except
model or hobby aircraft not used or designed to
carry people or cargo;

motor vehicles or ail other motorized land

conveyances, This includes:
a, their equipment and accessories; or

b. any device or instrument for the
transmitting, recording, receiving or
reproduction of sound or pictures which is
operated by power from the electrical
system of motor vehicles or all other
motorized land conveyances, including:

{1} accessories or antennas; or

(2) tapes, wires, records, discs or other
media for use with any such device or
Instrument;

while in or upon the vehicle or conveyance,

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7.

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We do cover vehicles or conveyances not
subject to motor vehicle registration which are:

a. used solely to service the Described

Location; or
b. designed for assisting the handicapped:
watercraft, other than rawboats and canoes:
data, including data stored in:

a. books of account, drawings or other paper
records; or

b. electronic data processing tapes, _ wires,
records, discs or other software media.

However, we do cover the cost of blank
recording or storage media, and of pre-recorded
computer programs available on the retail
market.

credit cards or fund transfer cards.

If you remove personal property from the Described
Location to a newly acquired principal residence, the
COVERAGE C limit of liability will apply at each
residence for the 30 days immediately after you

begin to move the property there.

This time period

will not extend beyond the termination of this policy.
Our liability is limited to the proportion of the limit of
liability that the value at each residence bears to the
total value of all personal property covered by this
policy... . eccue we .

COVERAGE D - FAIR RENTAL VALUE

1.

If a lass to property described in COVERAGE A,
B or C by a PERIL INSURED AGAINST under this
policy makes that part of the Described Location
rented to others or held for rental by you unfit
for its normal use, we cover its:

Fair Rental Value, meaning the fair rental value
of that part of the described Location rented to
others or held for rental by you less any
expenses that do not continue while that part of
the Described Location rented or held for rental
is not fit to live in.

Payment will be for the shortest time required to
repair or replace that part of the Described
Location rented or held for rental.

If a civil authority prohibits you from use of the
Described Location as a result of direct damage
to a neighboring location by a PERIL INSURED
AGAINST in this policy, we cover the Fair
Rental Value loss for no more than two weeks.

The periods of time referenced above are not
limited by the expiration of this policy.

We do not cover loss or expense due to
cancellation of a lease or agreement.

OTHER COVERAGES

1.

Other Structures.

a. You may use up to 10% of the COVERAC”
A limit of liability for loss by a PER
INSURED AGAINST to other structures
described in COVERAGE B,

b. Payment under this coverage reduces the
COVERAGE A limit of liability by the
amount pald for the same loss.

Debris Removal.

a. We will pay your reasonable expense for
the removal of:

(1) debris of covered property if a PERIL
INSURED AGAINST causes the loss: or

{2} ash, dust or particles from a volcanic
eruption that has caused direct loss to
a building or property contained in a
building.

b. Debris removal expense is included in the
limit of liability applying to the damaged
property,

Improvements, Alterations and Additions.

a. !f you are a tenant of the Described
Location, you may use up to 10% of the
~ COVERAGE C limit of liability for loss by a
PERIL INSURED AGAINST *
improvements, alterations and additior,
made or acquired at your expense, to that
part of the Described Location used only by
you.

b. Payment under this coverage reduces the
COVERAGE C limit of liability by the
amount paid for the same loss.

Worid-Wide Coverage.

a. You may use up to 10% of the COVERAGE
C limit of liability for loss by a PERIL
INSURED AGAINST to property covered
under COVERAGE C while anywhere in the
world, This coverage does not apply to
property of guests or servants or to
rowboats or canoes.

b. Payment under this coverage reduces the
COVERAGE C limit of liability by the
amount paid for the same loss,

Rental Vaiue.

a. You may use up to 10% of the COVERAGE
A limit of lability for loss of fair rental value
as described In COVERAGE D, We will pay
only 1/12 of this 10% for each month the
rented part of the Described Location is
unfit for its normal use.

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SD137 (06/07)

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Case 2:19-cv-00180-PJP Document 1-2

b. Payment under this coverage reduces the
COVERAGE A limit of liability by the
amount paid for the same loss.

6, Reasonable Repairs.

a. In the event that covered property is
damaged by an applicable PERIL INSURED
AGAINST, we will pay the reasonable cost
incurred by you for necessary measures
taken solely to protect against further
damage. If the measures taken involve
repair to other damaged property, we will
pay for those measures only if that property
is covered under this policy and the damage
to that property is caused by an applicable
PERIL INSURED AGAINST.

b. This coverage:

{1) does not increase the limit of liability
that applies to the covered property;

(2} does not relieve you of your duties, in
case of a loss to covered property, as
set forth in CONDITION 4. b.

7. Property Removed. We insure covered property
against direct loss from any cause while being
removed from a premises endangered by a
PERIL INSURED AGAINST and for no more than
5 days while removed.

This coverage does not change the limit of

liability that applies to the _property being ..

removed.
3. Fire Department Service Charge.

a, We will pay up to $500 for your liability
assumed by contract or agreement for fire
department charges incurred when the fire
department is called to save or protect
covered property from a PERIL INSURED
AGAINST.

b. We do not cover fire department service
charges if the property is located within the
limits of the city, municipality or protection
district furnishing the fire department
response,

c. This coverage is additional insurance. No
deductible applies to this coverage.

 

Unless the loss is excluded in the GENERAL
EXCLUSIONS, we insure for direct physical loss to
the property covered caused by:

1. Fire or lightning.

2. a. Internal Explosion, meaning explosion
occurring in the dwelling or other structure
covered on the Described Location or in a
structure containing personal property
covered,

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b. Explosion does nat mean:
{1} electric arcing;
(2) breakage of water pipes: or

(3) breakage or operation of pressure relief
devices.

c. This peril does nat include loss by explosion
of steam boilers, or steam pipes, if owned
of leased by you or operated under your
control,

When a Premium for Extended Coverage is shown in
the Declarations, Perils 3. through 9. are made part
of Periis Insured Against,

3.

Windstorm or hail. This peril does not include

logs:

a. to the inside of a building or the property
contained in a building caused by rain,
snow, sleet, sand or dust unless the direct
force of wind or hail damages the building
causing an opening in a roof or wall and the
rain, snow, sieet, sand or dust enters
through this opening: ar

b. to the following property when outside of
the building:

(1) awnings, signs, radio or television
antennas or aerials including lead-in
. Wiring,. masts or towers;.or von
(2) canoes and rowboats.

Explosion.

a. This peril does not include loss by explosion
of steam boilers or steam pipes, if owned
or leased by you or operated under your
control,

b. Explosion does not mean:

{1} electric arcing;
{2) breakage of water pipes: or

(3) breakage or operation of pressure relief
devices,

c. This peril replaces Peril 2.
Riot or civil commotion.

Aircraft, including self-propelled missiles and
spacecraft.

Vehicles.

This peril does not include loss:

a. caused by a vehicle owned or operated by
you or a resident of the Described Location;
or

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caused by any vehicle to fences, driveways
and walks.

Smoke, meaning sudden and accidental
damage from smoke,

This peril does not include loss caused by
smoke from fireplaces or from agricultural
smudging or industrial operations.

9, Volcanic Eruption, other than loss caused by
earthquake, land shock waves or tremors

When a Premium for Vandalism or Malicious Mischief
is shown in the Declarations, the following is made
part of PERILS INSURED AGAINST.

10. Vandalism or malicious mischief, This peril does
not include loss:

a.

1,

to glass or safety glazing material
constituting a part of the building other
than glass building blocks;

by pilferaga, theft, burglary or larceny, but
we will be liable for damage to the building
covered caused by burglars; or

to property on the Described Location if the
dwelling has been vacant for more than 30
consecutive days immediately before the
loss. A dwalling being constructed is not
considered vacant.

 

We do not insure for loss caused directly or
indirectly by any of the following. Such loss is
excluded regardless of any other cause or event
contributing concurrently or in any sequence to
the loss.

Ordinance Or Law, meaning any ordinance
or law:

a. requiring or regulating the
construction, demolition, remodeling,
renovation or repair of property,
including removal of any resulting
debris;

b. the requirements of which result in a
loss In value to property; or

c. requiring you or others to test for,
monitor, clean up, remove, contain,
treat, detoxify or neutralize, or in any
way respond to, or assess the effects
of, “pollutants”.

Earth Movement, meaning earthquake
including land shock waves or tremors
before, during or after a volcanic eruption:
landslide; mine subsidence; mudflow; earth

sinking, rising or shifting; unless direct loss
y:

a. fire:
b. explosion;

ensues and then we will pay only for the
ensuing loss.

a. Water Damage, meaning:

(1) flood, surface water, waves, tidal
water, overflow of a body of
water, or spray from any of these,
whether or not driven by wind;

(2) water which backs up through
sewers or drains or which
overflows from a sump; or

(3) water below the surface af the
ground, Including water which
exerts pressure on or seeps or
leaks through a building, sidewalk,
driveway, foundation, swimming
pool or other structure.

b. Direct loss by fire or explosion
resulting from water damage is
covered,

Power Failure, meaning the failure of power
or other utility service if the failure takes

place off the Described Location... But if-the-

failure of power or other utility service
results in a loss, from a PERIL INSURE
AGAINST on the Described Location, we
will pay for the loss or damage caused by
that PERIL INSURED AGAINST.

Neglect, meaning your neglect to use all
reasonable means to save and preserve
property at and after the time of a loss.

War, including undeclared war, civil war,
insurrection, rebellion, revolution, warlike
act by a military force or military personnel,
destruction or seizure or use for a military
personnal, destruction or seizure or use for
a military purpose, and including any
consequence of any of these. Discharge of
a nuclear weapon will be.deemed a warlike
act even if accidental.

Nuclear Hazard, to the extent set forth in
the Nuclear Hazard Clause of the
Conditions.

Intentional Loss, meaning:

a. any loss arising out of any act an
insured commits or conspires to
commit with the intent to cause a
Oss.

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In the event of such loss, no insured Js
entitled to coverage, even insureds
wha did not commit or conspire to
commit the act causing the loss.

b. However, this exclusion will not apply
to deny payment to the insured who
did not cooperate in or contribute to
the creation of the loss if the loss:

(1) is otherwise covered property

under Coverage A, B, or © of the |

policy; and

(2) arises out of abuse to that
innocent insured by another
insured,

With respect to this provisions, abuse
means:

{a} abuse as defined in the
Pennsylvania Protection From
Abuse Act; or

(b) attempting to cause or
intentionally, knowingly or
recklessly causing damage to
covered property so as to
intimidate or attempt to
control the behavior of
another person.

_If.we pay a.claim under. this provision

8.b., our payment to the insured is
limited to that insured’s insurable
interest in the property. In no event
will we pay more than the Limit of
Liability,

We do not cover loss to lawns, plants, shrubs ar
trees outside of buildings.

 

Policy Period. This policy applies only to lass

which occurs during the policy period.

Insurable Interest and Limit of Liability. Even if
more than one person has an insurable interest
in the property covered, we will not be liable in
any one loss:

a. for an amount greater than the interest of a
person insured under this policy; or

b. for more than the applicable limit of
liability.

Concealment or Fraud, With respect to all
persons insured under this policy, we provide no
coverage for loss if, whether before, during or
after a loss, one or more persons insured under
this policy have:

a. intentionally concealed or misrepresented

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any material fact or circumstance;
b. engaged In fraudulent conduct; or
c. made false statements;
relating to this insurance.

Your Duties After Loss, in case of a loss to
covered property, you must see that the
following are done:

a. give prompt notice to us or our agent;

b. (1) protect the property from further
damage;

(2) make reasonable and necessary repairs
to protect the property; and

(3) keep an accurate record of repair
axpenses;

c. prepare an inventory of damaged personal
property showing the quantity, description,
actual cash value and amount of loss,
Attach all bills, receipts and _ related
documents that justify the figures in the
inventory;

d. as often as we reasonably require:
{1}. show the damaged property;

(2). provide -us- with» records ~ and
documents we request and permit us
to make copies; and

(3) submit to examination under oath,
while not in the presence of any other
named insured, and sign the same;

e, send to us, within 60 days after our
request, your signed, sworn proof of loss
which sets forth, to the best of your
knowledge and belief:

(1) the time and cause of loss;

(2) your interest and that of all others in
the property involved and all liens on
the property;

{3) other insurance which may cover the
Oss;

(4) changes in title or occupancy of the
property during the term of the policy;

(5) specifications of damaged buildings
and detailed repair estimates;

(6) the inventory of damaged personal
property described in 4.c. ;

(7) receipts for additional living expenses
incurred and records that support the
fair rental value loss.

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Loss Settlement. Covered property losses are
settled at actual cash value at the time of loss
but not more than the amount required to rapair
or replace the damaged property.

Loss to a Pair or Set. In case of loss ta a pair or
set We may elect to:

a. repair or replace any part to restore the pair
or set to Its value before the loss: or

b. pay the difference between actual cash
value of the property before and after the
oss,

Glass Replacement. Loss for damage to glass
caused by a Peril Insured Against will be settled
on the basis of replacement with safety glazing
materials when required by ordinance or law.

Appraisal.

a. If you and we fail to agree on the amount
of loss, either may demand an appraisal of
the loss. In this event, each party will
choose a competent appraiser within 20
days after recelving a written request from
the other.

b. The two appraisers will choose an umpire.
If they cannot agree upon an umpire within
15 days, you or we may request that the
choice be made by a judge of a court of
record in the state where the Described
Location is located: . mo

c. The appraisers will separately set the
amount of loss. If the appraisers submit a
written report of an agreement to us, the
amount agreed upon will be the amount of
loss. If they fail to agree, they will submit
their differences to the umpire. A decision
agreed to by any two will set the amount
of loss.

d. Each party will:

(1)
(2)

pay its own appraiser; and

bear the other expenses of
appraisal and umpire equally.

the

Other Insurance. If property covered by this
policy is also covered by other fire insurance,
we will pay only the proportion of a loss caused
by any peril insured against under this policy
that the limit of liability applying under this
policy bears to the total amount of fire
insurance covering the property,

Subrogation. You may waive in writing before a
loss all rights of recovery against any person. If
not waived, we may require an assignment of
rights of recovery for a loss to the extent that
payment is made by us. If an assignment is
sought, the person insured must sign and deliver
all ralated papers and cooperate with us.

11,

12.

13,

14,

Suit Against Us, No action can be brought
unless the palicy provisions have been complied
with and the action is started within one year
after the date of loss.

Our Option. We may repair or replace any part

the damaged property with like property if we
give you written notice of our intention to do so
within 15 working days after we receive your

signed, sworn proof of loss.

Loss Payment. We will adjust all losses with
you, We will pay you unless some ather person
is named in the policy or is legally entitled to
raceive payment. Loss will be payable 60 days
after we receive your proof of loss and:

a. reach an agreement with you;
b. there is an entry of a final judgment: or

c, there is a filing of an appraisal award with
us.

Abandonment of Property. We need not accept
any property abandoned by you.

15. Mortgage Clause.

a. The word "mortgagee" includes trustee.

b. If a mortgagee is named in this policy, an
loss payable under COVERAGE A or B will
be paid to the mortgagee and you, as

- Interests --appear. ~ If more than’ one
mortgagee is named, the order of payme”
will be the same as the order of precedeny
of the mortgages.

c. If we deny your claim, that denial will not
apply to a valid claim of the mortgagee, if
the mortgagee:

(1) change — in
or substantial
the mortgagee

notifies us of any
ownership, occupanc
change In risk of whic
is aware;

pays any premium due under this
policy on demand if you have
neglected to pay the premium: and

(2)

submits a signed, sworn statement of
loss within 60 days after receiving
notice from us of your failure to do so,

(3)

Policy conditions relating to
APPRAISAL , SUIT AGAINST US and
LOSS PAYMENT apply to the
mortgagee,

d. If we decide to cancel or not to renew this
olicy, the mortgagee will be notified at
east 10 days betore the date cancellation
or nonrenewal takes effeot,

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e. If we pay the mortgagee for any loss and
deny payment to you:

(1) we are subrogated to all rights of the
mortgagee granted under the mortgage
on the property; or

(2} at our option, we may pay to the
mortgagee the whole principal on the
mortgage plus any accrued interest. In
this event, we will receive a full
assignment and transfer of the
mortgage and all securities held as
collateral to the mortgage debt.

f. Subrogation will not impair the right of the
mortgagee to recover the full amount of the
martgagee's claim.

16. No Benefit to Bailee. We will not recognize any

assignment or grant any coverage that benefits
a person or organization holding, storing or
moving property for a fee regardless of any
other provision of this policy.

17. Cancellation.

a. You may cancel this policy at any time by
returning it to us or by letting us know in
writing of the date cancellation is to take
effect.

b. We may cancel this policy subject to the
provisions of this condition by notifying you
in. .writing of .the.date. cancellation takes
affect and the reason for cancellation. This
cancellation notice may be delivered to or
mailed to you at the mailing address known
to us; if mailed, it will be by registered or
first class mail. Proof of mailing will be
sufficient proof of notice.

(1) When this policy has been in effect for
less than 60 days and is not a renewal
with us, we may cancel for any reason
by notifying you at least 30 days
before the date cancellation takes
effect,

{2} When this policy has been in effect for
60 days or more or at any time if it is
a renewal with us, we may cancel only
for one or more of the following
reasons:

{a} You have made a material
misrepresentation that affects the
insurability of the risk. Notice of
cancellation will be mailed or
delivered at least 30 days before
the effective date of cancellation.

{b} You have failed to pay a premium
when due, whether the premium
is payable directly to us or our
agents or indirectly under a
premium finance plan or extension
of credit. Notice of cancellation
will be mailed at least 30 days

18,

19.

20.

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before the effective date of
cancellation,
{ch} A condition, fact or joss

experience material to insurability
has changed substantially or a
substantial condition, factor or
loss experience material to
insurability has become known
during the policy period. Notice
of cancellation will be mailed or
delivered at least 30 days before
the effective date of cancellation.

c. If this policy Is cancelled, we will send you
any premium refund due. If we cancel, the
refund will be pro rata and will be returned
within 10 business days after the effective
date of cancellation. If you cancel, the
refund may be less than pro rata and will
be returned within 30 days after the
effective date of cancellation. The
cancellation will be effective even if we
have not made or offered a refund,

d. lf the return premium is not refunded with
the notice of cancellation or when this
policy is returned to us, we will refund it
within a reasonable time after the date
cancellation takes effect.

Nonrenewal. If any reasonis)stated under Item
17., Cancellation, Subparagraph b.(2} applies(y),
we may elect not to renew this policy. We may
do so.by delivering to you, or mailing to you at
your mailing address shown in the Declarations,
written notice, stating the specific reasons for
nonrenewal, at least 60

expiration date of this policy.
will be sufficient proof of notice.

days before the
roof of mailing

Increase in Premium. If we increase your
renewal premium, we will mail or deliver to you:

a, notice of our intent to increase the premium
at least 60 days before the effective date
of the premium increase; and

b. an estimate of the increase at least 30
days before the effective date of the
premium increase. Any notice of
nonrenewal or renewal premium increase
will be mailed or delivered to you at the last
mailing address known to us, If notice js
mailed, it will be by registered or first-class
mail. Proof of mailing will be sufficient
proof of notice.

Liberalization Clause,

a. {tf we make a change which broadens
coverage under this edition of our policy
without additional premium charge, that
change will automatically apply to your
insurance as of the date we implement the
change in your state, provided that this
implementation date falls within 60 days

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prior to or during the policy period stated in c. This policy does not apply to loss caused
the Declarations, directly or indirectly by nuclear hazard,
a i, except that direct loss by fire resulting from
b. This Liberalization Clause does not apply to the nuclear hazard is covered,
changes implemented through introduction
of a subsequent edition of aur policy. 25. Recovered Property. If you or we recover ar’
. . st . roperty for which we have made payme
21. Waiver or Change of Policy Provisions . A waiver un er this policy, you or we will notify the other
or change of a provision of this policy must be of the recovery. At your option, the propert
In ane by us to be valid. Our request for an will be returned to or retained by yau or it will
oe or examination will not waive any of become our property. If the recovered property
our rights. is returned, to or retained by you, the loss
. . . . . ayment wi & adjuste ased on the amount
22. Assignment. Assignment of this policy will not you received for the recovered property, ”

be valid unless we give our written consent.
. . / 26. Volcanic Eruption Period. One or more volcanic
23. Death. If you die, we insure: eruptions that occur within a 72-hour period will

a. your legal representatives but only with be considered as one volcanic eruption.
respect to the property of the deceased

covered under the policy at the time of , ;
death: Polley a in Witness Whereof, we have caused this policy to
be executed and attested, and, if required by state

b. with respect to your property, the person law, this policy shall ot be valid unless
having proper temporary custody of the Countersigned by our authorized representative.

property until appointment and qualification
of a legal representative.

c. Insurance under this policy will continue as
rovided in (1) or {2) below, whichever is
ater;

(1) for 180 days after your death

regardiess of the policy period shown
in....the Declarations, ... unless _ your .
property, covered under the policy at ue ee —

the time of your death, is sold prior to
that date; or
. . . President
(2) until the end of the policy period
shown in the Declarations, unless your

property, covered under the policy at ’
the time of your death, is sald prior to
that date.

Coverage during the period of time after

your death is subject to all the provisions of Secretary
this policy including payment of any

premium due for the policy period shown in

the Declarations and any extension of that

period,

24. Nuclear Hazard Clause.

a. "Nuclear Hazard" means any nuclear
reaction, radiation or radioactive
contamination, all whether controlled or
uncontrolled or however caused, or any
consequence of any of these.

b. Loss caused by the nuclear hazard will not
be considered loss caused by fire,
explosion, or smoke, whether these perils
are specifically named in or otherwise
included within the Perils Insured Against.

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American Modern Insurance Group

PRIVACY NOTICE AND NOTICE OF INFORMATION PRACTICES

The companies of the American Modern Insurance
Group {"American Modern") respect you and your
right to privacy. We value your trust. So, we want
you to know our policies and procedures that protect
the privacy of your Nonpublic Personal Information
(NPI), We also want you to know your rights
regarding NP! that we receive about you. Thirdly,
we want you to know haw we gather NPI about you
and how we protect its privacy.

in the course of doing business, we receive NPI
related to insurance products and services we
provide. These products and services are primarily
for personal, family and household purposes. We
currently do not share your NPI with any third parties
not affiliated with American Modern except as
required or permitted by law. We have no Intention
of doing so without proper authorization from you,

The terms of this Notice apply to individuals who
inquire about or obtain insurance from one of the
American Modern companies. We will send current
policyholders a copy of our most recent Privac
Notice and Notice of Information Practices. We will
do so at least annually. We will also send you a
Notice if wé make changes affecting your rights
‘inder our privacy policy. We reserve the right to
aodify or supplement our privacy policy at any time
in accordance with applicable law. This Notice
applies to current and former customers of American
Modern. This Notice does not in any way affect
your insurance coverage. You can find this Notice
online on our Website at www.amig.com.,

1. WHAT KIND OF INFORMATION WE COLLECT
ABOUT YOU

We get most of our NPi about you directly from
insurance applications and other forms that you or
your Insurance representative provide to us. Some
examples of NPI include your name, address, income
level, Social Security number and certain other
financial information. Often, the NPI you provide to
Your insurance representative at the time you apply
gives us everything we need to evaluate you or your
property for insurance purposes. But, there are
times when we may need more NPI or may need to
verify NPI that you have provided. In those cases,
we may obtain NPI from outside sources. We will do
so at our own expense.

It is common for an insurance company or other
financial services company to contact independent
sources. Such sources verlfy and supplement NPI
iven on an application for insurance or other
inancial services products. There are many such
independent companies. These are commonly called

“consumer reporting agencies". They are in the
business of providing independent NPI to insurance
companies. We will treat the NPI we receive about
you from independent sources according to the
terms of this Notice.

You have the right to contact any of the agencies
we have usec to prepare a report on you. If you
wish, please submit your request in writing to the
address shown below. Upon our receipt of your
written request, we will provide you with the name
and address of any agency used to prepare a report
on you. Please note that your request must follow
the procedures outlined under Sections V. and VII.
glow,

Once you become a customer of ours, our records
on you may contain NPI about our experiences and
transactions with you. Such NPI may include
coverage, premiums and payment history. It may
also inciude any claims you make under your policy.
Any NPI that we collect in connection with a claim
will be kept in accordance with this Privacy Notice.
We will keep NPI collected by a claims
representative and any. police .or. fire. report. .We
may, though, give NPI about claims to one or more
insurance support organizations or another insurer.
We may do so to underwrite a risk properly. We
may also do so to prevent or prosecute fraud, ar to
detect criminal activity. We may also obtain NPI
about you from a report prepared by an insurance
support organization. The NPI may be kept by the
support organization and provided to other persons.

Each American Modern company may disclose NPI
about you to an affillate regarding its transactions
and experiences with you for marketing purposes
without obtaining prior authorization. The law does
not allow customers to restrict this disclosure. Such
NPI may include your payment and claims history.
We do not currently share other credit-related NPI
about you, except as allowed or required by law.

Wl. WHAT WE DO WITH INFORMATION WE
COLLECT ABOUT YOU

We will keep NPI we have about you in our
insurance policy or other records. We will refer to
and use that NPI in order to issue and service
insurance policies and other financial products, We
will also use it to settle claims. Generally, we will
not disclose NP! about you in our records to any
organization not affiliated with American Modern
without your prior permission. But, we may, as
allowed by law, share NPI about you contained in
our records with certain persons or organizations
that are not affillated with American Modern such
as:
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* your insurance representative:
* medical professionals;

* other insurance companies, agents or consumer
reporting agencies as NPI is needed in
connection with any insurance application,
policy or claim Involving you;

* our affiliated companies;

* persons who represent you in a fiduciary
capacity, including your attorney or trustee, or

who have a legal interest in your insurance
policy;

* persons or organizations who use the NPI to
perform a business, professional or insurance
function for us:

* persons or organizations that conduct research,
Includin actuarial or underwriting studies,
provided that no individual NPI may be identified
In any research study report;

* adjusters, appraisers, auditors, investigators and
attarneys;

* persons ar organizations that perform services,
functions or marketing services on our behalf or
to other financial institutions -with whom we
have joint marketing agreements; and

* a court, state insurance department or other
government agency pursuant to a summons,
court order, search warrant, subpoena, or as
otherwise required by law or regulation.

Health Information

Except as allowed or required by law, we will not
use or share any personally identifiable health
information about you, other than as follows. We
will use such information to underwrite or administer
your policy, claim or account, or in a manner as
previously disclosed to you by us when we collected
it. The above will not apply if we have obtained
your written consent to share information,

ll. RESPONSIBILITIES OF OTHER PARTIES

This Notice applies only to the American Modern
companies. It does not necessarily reflect the
privacy standards of other financial! institutions or
Independent agents with whom you do business.
Their privacy policies and information practices
govern how they collect, usé and disclose NP! about
you. As described above, we may disclose your
nonpublic personal financial or health information to
third parties. When we do so, we will require them
to use such NPI only for its intended purpose in
accordance with applicable law.

IV. WHO HAS ACCESS TO YOUR INFORMATION
IN OUR RECORDS

At present, American Modern uses a system of
passwords and other physical, electronic and
procedural safeguards to protect your NPI, They are
designed to protect confidentiality, limit access, and
prohibit unlawful disclosure of your NPI, We. train
our employees about the policies and rights provided
under this Notice. We also train them on the
importance of protecting customer NPI, Employees
who violate our policy in any way are subject to
being disciplined. This could include actions up to
and including termination of employment. Also, we
evaluate our information security practices relevant
to changes in technology. We will do so to
determine ways to increase the protections outlined
apove,

Vv. HOW YOU CAN REVIEW RECORDED
INFORMATION WE HAVE ABOUT YOU

Access to Information

You have the right to review and receive most of the
NPI we collect about you. As permitted or required
by law, some legal and medical documents will not
be provided. To access your NPI, please submit a
notarized request to the address shown in Section
VI. We will need your complete name, address,
policy number, daytime phone number and a copy of
your driver's license or other personal identification
We will respond to your request within thirty (3
days unless state law requires us to respond earlie,.
We will let you know the nature and substance of
the NPI about you In our files. We will tell you with
whom we have shared the information in the last
two years. We will identify the source of the
information If the source Is an institutional one.

Correction of Information

If you believe your NPI is incorrect, please send a
notarized request for correction to the address
shown in Section VI. We will need your complete
name, address, policy number, daytime phone
number and a copy of your driver's license or ather
personal identification. We will respond to your
request within thirty (30) days unless state law
requires us to respond earlier.

lf we agree with you, we will correct the NPI and
notify you of the correction. We will notify any
person who may have received the incorrect NPI
from us in the past two years if you ask us to
contact that person. We will also provide the
corrected information to any insurance support
organization to which we have provided your NPI
within the last seven years.
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lf we disagree with you, we will tell you we are not
‘oing to make the correction, We will give you the
,eason(s) for our refusal, We will also tell you that
you may submit a statement to us. Your statement
should include the NPI you believe is incorrect. It
should also include the reason(s) why you disagree
with our decision not to correct the NPI in our files,
We will file your statement with the disputed NPI,
We will include your statement any time we disclose
the disputed NPI. We will also give the statement to
any person designated by yau if we have disclosed
the disputed NPI to that person in the past two
years.

Vi. INTERNET, MOBILE APPLICATION AND SOCIAL
MEDIA USERS

We may use at our website, amig.com common
online tracking technologies like web browser
cookies, web beacons or pixels, analytical tools, or
other technologies to customize our websites, mobile
applications, and social media interactions to
enhance your overall customer experience. These
technologies do not collect personally identifiable
information about you, When you visit our website,
a message called a cookie is sent from a web server
to your computer. This cookie resides on your
computer until your internal browser is turned off
and is used to make it easier for you to navigate
among different pages of the website. You can
disable cookies in your browser or black by changing
the settings in your browser. Disabling or rejecting
ookies may prevent you from using certain website
¢unctions and you may have to enter information to
take advantage of services.

We partner with third party marketing partners,
including Facebook, which use cookies, web
beacons, and other storage technologies to collect or
receive information from our website as well as
elsewhere on the Internet. Our partners use that
information to provide measurement services and
target information to provide measurement services
and target ads. To opt-out of ad targeting, please

visit the Digital Advertising lliance's
http://www. aboutads.info/choices.
Our website contains hyperlinks to third-party

websites on the Internet, which we do not control,
are not governed by our privacy practices and

olicies and for which we are not responsible.

efore you provide information to any of these other
websites, you should review their terms of service
(or similar legal terms) and their privacy policies so
that you know what information is collected by the
website and what use or disclosure may be made of
information you provide to the website.

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VII. HOW TO CONTACT US

Once you have read this, if you havé any questions
about our privacy policy or the NPI kept in our
racords about you, please write to us at the address
shown below:

AMERICAN MODERN INSURANCE GROUP
7000 Midland Boulevard

Amelia, Ohio 45102-2607

Attn: Privacy Compliance Office

The American Modern Insurance Group's Privacy
Notice and Notice of Information Practices ara
provided on behalf of the following companies:

American Modern Property and Casualty Insurance
Company

American Modern Insurance Group, Inc.

American Family Home Insurance Company d/b/a in
California AFH Insurance Company
American Modern Home insurance Company d/b/a in
California American Modern Insurance Company
American Modern Home Service Company

American Modern Insurance Company of Florida, Inc.
American Modern Lloyds Insurance Company
American Western Hame Insurance Company
American Southern Home Insurance Company
American Modern Select Insurance Company
American Modern Surplus Lines Insurance Company
Lloyds Modern Corporation

Marbury Agency, Inc.

Midwest Enterprises, Inc.

The Atlas Insurance Agency, Inc.

Copper Leaf Research
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THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF THE POLICY.

PLEASE READ IT CAREFULLY.

DWELLING POLICY
PREMISES LIABILITY ENDORSEMENT - PENNSYLVANIA

WE WILL PROVIDE THIS INSURANCE IF "PREMISES LIABILITY" IS SHOWN IN THE
DECLARATIONS.

It is agreed the CONDITIONS sections of your Dwelling Policy shall continue to apply unless

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It.

ed in this endorsement,

AGREEMENT

We will provide the insurance described in this endorsement in return for the premium
and compliance with all applicable provisions of the policy.

COVERAGES
A. Premises Liability

1,

We cover the insured's legal liability for bodily injury or property damage
arising out of the ownership, maintenance or use of the insured premises. The
bodily injury or property damage must be caused by an occurrence during the
policy period.

If a claim is made or a suit is brought against any insured for damages because
of bodily injury or property damage to which this coverage applies, we will:

a. pay up to our Limit of Liability for the damages for which the insured is
legally liable; and

b. provide a defense at our expense by counsel of our choice. We may make
any investigation and settle any claim or suit that we decide Is
appropriate.

Our duty to settle or defend ends when the amount we pay for damages
equals our Limit of Liability. We will not reimburse you for defense costs or
attorney fees incurred by you prior to giving us notice of the accident or
occurrence.

B. Premises Medical Payments

1.

We will pay up to the Limit of Liability all reasonable medical expense for
bodily injury provided:

a. the medical expense is incurred within one year from the date of the
accident; and

b. the bodily injury arises out of a condition on the insured premises for
which you are afforded coverage for bodily injury lability.

LIMITS OF LIABILITY

A. Premises Liability

Regardless of the number of:

1.

insureds:

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2. claims made: or
3. persons Injured:

our total liability for all damages resulting from any one occurrence shall not
exceed the Limit of Liability stated in the declarations.

All bodily injury and property damage resulting from any:
1. ane accident; or

2. from continuous or repeated exposure to substantially the same general
conditions;

shall be considered to be the result of one occurrence.
B. Premises Medical Payments

The Limit of Liability shown in the Declarations for each person is our maximum
Limit of Liability for all medical expense payable for badily injury to one person as
the result of one accident.

Subject to this limit for each person, the Limit of Liability shown in the
Declarations for each accident is our maximum Limit of Liability for two or more
persons injured in any one occurrence.
IV. EXCLUSIONS
A. This insurance does not apply to bodily injury or property damage:
1. arising out of the ownership, maintenance, use, loading or unloading of an:
a. aircraft;
b, motor vehicle;
c. motorized bicycle: or
d. watercraft;
owned or operated by, or rented or loaned to any insured.
2. arising out of diseases or sickness that:
a. may have been transmitted by you: or
b, may have arisen from your activities.

3. arising out of any sexual act. This includes, but is not limited to, assault,
molestation, abuse, incest or rape.

4, arising out of your business activities. This does not apply to the rental or
holding for rental of the insured premises.

5. arising from:
a. nuclear reaction:
b. radiation: or
c. radioactive contamination.

This exclusion applies whether such are controlled or uncontrolled, It also
applies to any consequence of these,

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10,
41.

12.

arising out of your illegal or criminal acts.
due to war, declared or not;

civil war, or insurrection;

rebellion or revolution;

or any consequence thereof,

which is expected or intended by any insured; or which is the foreseeable
result of an act or omission intended by any insured.

This exclusion applies whether or not the insured was intoxicated, insane or
otherwise impaired if a person without that impairment should have foreseen
some type of injury or damage might result,

for which any insured may be held liable for violation of any law:
a. pertaining to the distribution of use of any alcoholic beverage; or
b. by reason of selling, serving or giving any alcoholic beverage;
{1} to a minor:
(2) to a person under the influence of alcohol: or
{3} which causes or contributes to the intoxication of any person,
arising out of rendering or failure to render professional services.
arising from:
a. continuous or repeated.events; or
b. exposure to conditions which result directly or indirectly in:
{1] bodily injury; or
(2) property damage:

as a result of lead poisoning or the existence of lead-based paint at any
insured premises.

arising from or associated in any way with the actual or threatened occurrence
of, growth of, release of, transmission of, migration of, dispersal of,
decontamination of, remediation of or exposure to mold. This includes, but is
not limited to bodily injury or property damage:

a. arising from or associated in any way with actual or threatened moid at or
upon any real property, personal property, product, or any other tangible
property of any insured or any other person(s) or organization(s) located
anywhere in the world:

b. arising from or associated In any way with any actual or threatened
inhalation of, exposure to, absorption or ingestion of, or physical contact
with mold;

¢. arising from or associated in any way with any testing, monitoring,
clean-up, remediation, treatment, removal, or neutralization of mold,
including any associated costs or expenses; or

d. arising from or associated in any way with any error or omission in
supervision, instructions, recommendations, notices, warnings or advice,
given or which should have been given in connection with mold.

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B. In addition this insurance does not apply:

1. to liability for your share of any loss assessment charged against all members
of an association of property awners.

2. to fiability assumed by you except a written lease of the insured premises.

3. to bodily injury to you, your partner or employee arising out of or in the course
of your or his employment,

This exclusion also applies to your obligation to indemnify another because of
damages arising out of such injury.

4, to property damage to:
a, property owned or occupied by or rented to you or your employee;
b. property used by you or your employee; or
c. property in the care, custady or contro! of you or your employee,
d. premises allenated by you.
5. with respect to Premises Medical Payments, bodily injury to:
a, you or any other insured;
b, a4 tenant or other person living on the insured premises;
c. aperson at the insured premises without permission;

d. an employee of the foregoing arising out of the course of his employment;
or

@. any person participating in an athletic activity.
6. a. bodily injury to any person eligible to receive any benefits:
(1} voluntarily provided; or
(2} required to be provided;
b. by the insured under any:
{1} workers’ compensation law;
(2) non-occupational disability law; or
{3} occupational disease law.
7. to liability arising out of a landlord-tenant dispute.
8. bodily injury to you or any other Insured,

9. to claims or damages alleging or resulting in punitive or exemplary damages or
related defense costs. it does not apply to statutory fines or other similar
types of damages.

C, PREMISES LIABILITY and PREMISES MEDICAL PAYMENTS coverages donot apply
to:

1. bodily injury arising from the ingestion, inhalation, or absorption of lead in any
form.

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2. property damage arising from any form of lead contamination,

3. any loss, cost or expense arising from any request, demand or order that any
insured or othars:

a. test for,

b. monitor,

c. clean up,
d. remove,

é. contain,

f. treat,

g. detoxify or neutralize, or
h. in any way respond to, or assess the effects of,
lead.

4. any loss, cost, or expense arising from any claim or suit by or on behalf of a
governmental authority for damages because of:

a. testing for,
b. monitoring,
cleaning up,

Cc
d. removing,

@

containing,
f. treating,
g. detoxifying or neutralizing, or
h. in any way responding to, or assessing the effects of,
lead.
V. POLICY PERIOD
This insurance applies only to accidents which occur during the policy period,
VI. DEFINITIONS
When used in this endorsement:
1. We, us and our refers to American Modern insurance Group,
2. You, your or yours means each of the following to the extent set forth below:
a. the named insured, and if the named insured is an individual, only with
respect to the conduct of a business which he js the sole proprietor, and

the spouse of the named insured with respect to the conduct of such a
buslness;

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b. if the named insured as designated in the declarations is a parthership or
joint venture, the partnership or joint venture so designated and any
partner or member thereof but only with respect to his Hability as such:

c. if the named insured as designated in the declarations is other than an
individual, partnership or joint venture, the organization or corporation so
designated and any executive officer, director or stockholder thereof while
acting within the scope of his duties as such.

3. Insured means you and, if an individual, the following residents of your
household:

a. your relatives:

b. any other person under the age of twenty-one who is in the care of any
person named above.

4. Insured premises means the premises designated in the Declarations or the
Dwelling Schedule attached to the policy,

5, Bodily injury means bodily harm, sickness or disease sustained by any person
which occurs during the policy period, including death at any time resulting
therefrom.

6. Property damage means:

a, physical injury to or destruction of tangible property which occurs during
the policy period, including the loss of use thereof at any time resulting

therefrom; or

b, loss of use of tangible property which has not been physically injured or
destroyed provided such loss of use is caused by an occurrence during the

policy period.

7. Medical expense means expenses for necessary medical, surgical, x-ray and
dental services, including prosthetic devices, and necessary ambulance,
hospital, professional nursing and funeral services.

8. Occurrence means an accident, including continuous or repeated events or
exposure to conditions, which results in bodily injury or property damage
neither expected nor intended by any insured.

9. Business includes trade, profession or occupation,

10, Landlord-tenant dispute means any claim or iegal action asserted against or
brought against you or any association of which you are a member by any
tenant or tenant association. A landlord-tanant dispute must relate to your
conduct (or of any such association) regarding the manner in which the insured
premises is managed, maintained or operated.

11. Motor vehicle means:

a. a motorized land vehicle designed for travel an public roads or subject to
motor vehicle registration;

b. a trailer or semi-trailer designed for travel on public roads and subject to
motor vehicle registration;

c, a snowmobile or other motorized land vehicle owned by any insured and
designed for recreational use off public roads. A motorized wheel chair
designed for the handicapped is not a motor vehicle:

d. any vehicle while being towed by or carried on a vehicle included in 11.4,
11,.b, or 11.6 above,

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12. Mold means any mold, fungi, organic pathogen, bacteria, virus or their spores,

scent, or by-products of any type or nature that cause, threaten to cause or
are alleged to cause physical damage, deterioration, loss of use, and/or loss of
value or marketability, to any tangible property or that can cause, threaten to
cause, or are alleged to cause harm of any type to any living organism. This
includes, but is not limited to, any type of mold that is harmful or potentially
harmful to the health or welfare of persons (such as Stachybotrys and others),
and/or that is damaging or potentia ly damaging to tangible property (including
wet or dry rot, mildew and others).

Vi. SUPPLEMENTARY PAYMENTS
A. We will pay in addition to our Limit of Liability:

1.
2.
3,

expenses Incurred by us;
all costs taxed against you in any suit we defend:

all interest on the entire amount of an Judgment in any suit we defend. We
will pay only that which occurs after the judgment and before we have paid
our part of the judgment which does not exceed our Limit of Liability;

prejudgement interest awarded against the insured on that part of the _
Judgement we pay, If we make an offer to pay the applicable Limit of Liability,
we wil not pay any prejudgement interest based on that period of time after
the offer;

premiums on appeal bonds required in any such suit. We will not apply for or
furnish any bond;

premiums on bonds to release attachments in any such suit. This applies only
to suits for an amount not in excess of our Limit of Liability. We will not apply
for or furnish any bond,

reasonable expenses incurred by you at our request to assist us in the defense
of any claim or suit. This includes actual loss of earnings not to exceed
$25.00 per day.

Vill. CONDITIONS
A. RIGHTS AND DUTIES IN CASE OF LOSS

1,

What to do in Case of Bodily Injury or Property Damage:

in case of an accident or occurrence, the insured must perform the following
duties that apply. You are obligated to see that these duties are performed:

a. pve written notice to us or our agent as soon as is practical, which sets
orth:

(1) the identity of the policy and the insured;

(2) reasonably available information on the time, place and circumstances
of the accident or occurrence; and

(3) names and addresses of any claimants and witnesses;

b. Promptly forward to us every notice, demand, summons, process or other
legal papers relating to the accident or occurrence;

c. Cooperate with us and assist us in any matter relating to a claim or suit.
Your duty to cooperate with us includes, but is not limited to, a duty to
submit to examinations under oath by any person named by us concerning

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matters relating both to circumstances surrounding a claim or occurrence
and with respect to any matter affecting an actual or potential coverage
dispute. Your duty to cooperate continues and does not cease until both
claims by third parties and coverage disputes have been resolved:

d. Atour request, submit to examination under oath, as often as we require,
while not in the presence of any other insured, and sign the same;

e. At our request, assist in:
{1) making settlement;

(2) the enforcement of any right of contribution or indemnity against any
person or organization who may be liable to any insured;

(3) the conduct of suits and attend hearings and trials: and

(4) securing and giving evidence and obtaining the attendance of
witnesses.

f. An insured will not, except at the insured's own cost, voluntarily make
payment, assume obligation or incur expense other than for first aid to
others at the time of the badily injury.

2. Duties of an Injured Person - Premises Medical Payments
The injured person or someone acting for the injured person will:

a. Give us written proof of claim, under oath if required, as soon as is
practical: and

b. Authorize us to obtain copies of medical reports and records,

The injured person will submit to a physical exam by a doctor of our choice
when and as often as we reasonably require.

B. Severability of Insurance

This insurance applies separately to each insured. This condition will not increase
our Limit of Liability for any one occurrence,

Cc, Suit Against Us

No action may be brought against us unless there has been full compliance with all
the policy provisions.

No one will have the right to join us asa party to any action against an insured.
Aiso, no action with respect to Premises Liability Coverage can be brought against
Us until the obligation of the insured has been determine by final judgment or
agreement signed by us,

D. Bankruptcy

Bankruptcy or insolvency of an insured will not relieve us of our obligations under
this policy for the period of time your premium was paid,

E, Other Insurance - Premises Liability Coverage

This insurance is excess over other valid and collectible insurance except insurance
written specifically to cover as excess over the Limits of Liability that apply in this

policy.

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F. Payment of Claim - Premises Medical Payments Coverage
Payment under this coverage is not an admission of liability by an insured or us.

G. Inspection

We shall be permitted but not obligated to inspect your property at any time. Our
Inspection shall not constitute an undertaking to determine or warrant your

property is:
a. safe or healthful; or

b. in compliance with any law.

All other provisions of this policy apply.

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IMPORTANT NOTICE - PENNSYLVANIA

Surcharge Disclosure Plan

Dwelling Type Surcharge

The following surcharge will apply to your policy if the insured property is a Three or Four
Multi-Family Unit or Row/Town Home.

Two,Three and Four Multi-Family Unit - A 21% surcharge will be applied on a two family unit;
a 50% surcharge will be applied to a three family unit; a 60% surcharge will be applied to a
four family unit,

Row/Town Home - A 20% surcharge will be applied for residences where more than two units
are connected by a common wail to the other dwellings/units not owned by our insured. The
interior and exterior walls must be owned by the insured and should not be considered a
condominum. The surcharge still applies to the end units of row homes/town homes.

Supplemental Heating Device - A $40.00 surcharge will be applied to Dwellings equipped with a
supplemental heating device that was not installed by a licensed contractor or heating device
manufacturer. A supplemental heating device is defined as a wood, coal or pellet burning stove,
space heater, and any other heating device that is not centralized.

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THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF THE POLICY. PLEASE READ IT CAREFULLY

BUILDER'S RISK
RENOVATION AND / OR NEW CONSTRUCTION COVERAGE FORM
FOR BASIC DWELLING POLICY ENDORSEMENT - PENNSYLVANIA

We will provide this insurance if "Builder's Risk" is shown in the Declarations.
SECTION I - PROPERTY COVERAGE

COVERAGE A - DWELLING
COVERAGE A - Dwelling, paragraph 1., is deleted and replaced with:

1. the dwelling on the Described Location shown in the Declarations, used principally for
dwelling purposes, including structures attached to the dwelling. Covered Property also
includes the following property:

a. fenovations - meaning the value of improvements, alterations or repairs to
buildings or structures under renovation,

b. dwellings under construction - meaning dwelling at the Described Location
shown in the Declarations, while it is under construction. The dwelling being
constructed must be intended principally for dwelling purposes when
gompleted. Structures attached to the dwelling are considered part of the

welling,

Provided such property is intended to be permanently located in or on the building or
structure described in the Declarations or within 100 feet of its premises.

The following coverages are deleted for dwellings under construction:
COVERAGE D - Fair Rental Value is deleted in its entirety,

OTHER COVERAGES
The following Other Coverages are deleted for dwellings under construction:

3. Improvements, Alterations and Additions

4. World-Wide Coverage
5. Rental Value

item 7., Property Removed, is deleted for dwellings under construction and replaced with: —
7. Property Removed. We insure covered property against direct loss from any cause while
being removed fram a premises endangered by a Peril Insured against and for no more
than 30 days while removed.

The following Item 9., Temporary Structures, Scaffolding and Construction Forms, is added to
the policy:

3. Temporary Structures, Scaffolding and Construction Forms,

if not covered by other insurance, temporary structures built or assembled on site,
including cribbing, scaffolding and construction forms.

a. We will pay for direct loss which is caused by or results from a covered peril under

this policy, to scaffolding, construction forms and temporary structures, but only
while they are on the Described Location shown in the Declarations.

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b. We will also pay for the cost of re-erection of the scaffold if the loss of the
scaffolding is caused by or results from a covered peril, This is not additional
coverage and the most we will pay for the re-erection of scaffalding Is $5,000.
The applicable policy deductible applies.

The following item 10., Theft of Building Materials and Supplies, is added to the policy:
10, Theft of Building Materials and Supplies,

a. We will pay for loss that is caused by theft to building materials and supplies that
are:

(1) Owned by yau or others:
(2) In your care, custody ar control: and

(3) Located in or on the building described in the Declarations, or within 100 feet
of its premises,

b. The most we will pay for loss under this Other Coverage is $5,000 at each
described premises, Our payment for loss of property to others wil! be for the
account of the owner of the proparty,

CONDITIONS
The following Conditions are deleted for dwellings under construction and replaced with:

1. Policy Period. We will cover loss from the time when you are legally responsible for the
property on or after the effective date of the policy if all other conditions are met.
Coverage will end at the earliest of the following:

a. The policy expires or is cancelled
. Your interest in the Property ceases
c. You abandon construction with no intention to complete it

5. Loss Settlement. In the event of a loss, the value of the Property will be deterrnined as
of the time of the loss,

The most we will pay for any loss that pertains to the Coverage A is the market value of
the property prior to the loss less land value which cannot exceed the Coverage A
amount.

The market value of the Property will be the lowest of the following:

a. The amount to replace or repair the structure to the same point of completion that
had been achieved immediately before the loss less depreciation.

b. The amount a prudent person would pay to purchase the dwelling less any land
value prior to the loss occurring,

Partial losses will be settled on the lowest of the following:
a. Market value of the dwelling less land value as determined above,

b, The amount to replace or repair the dwelling or building materials that have not yet
been installed with commonly used building materials fess depreciation.

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SECTION II - LIABILITY COVERAGE

When a Premium for Premises Liability Coverage is shown in the Declarations, the following Items
B.10 and B.11 are added to the Premises Liability Endorsement as additional Exclusions:

B.10. independent Contractors

This insurance does not apply and we have no duty to defend or investigate any claim, suit or
demand alleging “bodily injury”, including psychological injury “personal injury”, “advertising
Injury". “property damage” or medical payments arising from operations performed for “You”
or on “your” behalf, by any independent contractor or sub-contractor of yours, unless such
contractor, has in force general liability coverage including products completed operations
hazard and contractual liability coverage with limits equal to the limits on this policy and on

which you are named as a additional insured.
8.11. Independent Contractors

This insurance does not apply and we have no duty to defend or investigate any claim, suit or
demand alleging “bodily injury”, or medical expenses sustained by any independent
contractor and / or any “empk yee: of an independent contractor contracted by “you” or on
Employee Accident Policy or Non-subscriber Legal Liability Policy in force to cover such
“amployee” injuries.

These exclusions apply:
1. Whether the insured may be liable as an employer or in any other capacity;

2. To any obligation to share damages with or repay someone else who must pay damages

of the injury; or
to liability assumed by the insured under any “insured contract”

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THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF THE POLICY. PLEASE READ IT CAREFULLY,
CONDEMNATION ENDORSEMENT - PENNSYLVANIA

We do not provide coverage under this policy if, prior to the date of a covered loss, the
dwelling is declared condemned pursuant to:

1. local;
2. city;

3. state;
4. federal:

or other governmental regulation,
Upon date of condemnation, coverage will cease.

Ail other provisions of this policy apply.

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IMPORTANT NOTICE - PENNSYLVANIA

FAIR Plan Act

As provided in Act 233; you may be eligible for coverage through the Pennsylvania state FAIR
Plan and you can inquire at Insurance Placement Facility of Pennsylvania 190 N. Independence

Mall West Suite 301, Philadelphia, PA 19106- 1554, or by calling (800) 462-4972 or (215) 629-

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THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF THE POLICY, PLEASE READ IT CAREFULLY.

PREMISES LIABILITY
SWIMMING POOL SLIDE AND DIVING BOARD EXCLUSION - PENNSYLVANIA

IV. EXCLUSIONS

The following Exclusion is added:
Premises Liability and Premises Medical Payments do not apply to bodily injury or
property damage arising out of the ownership, maintenance or use of any swimming
pool when such bodily injury or property damage results from the use of:

a. one or more slides; and/or

b. one or more diving boards attached to the swimming pool.

All other provisions of this policy apply.

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THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF THE POLICY,
PLEASE READ IT CAREFULLY.

PREMISES LIABILITY
EXCLUSION OF UNDERGROUND STORAGE TANK INCIDENTS
PENNSYLVANIA

EXCLUSIONS
The foillawing Exclusion is added:

This insurance does not apply to "bodily injury", "property damage", "environmental
damage", or to clean-up costs if applicable, caused by “underground storage tank

incidents”,
DEFINITIONS
The following Definitions are added:

“Environmental damage" means the injurious presence in or upon land, the atmosphere,
or any watercourse or body of water of solid, liquid, gaseous or thermal contaminants,
irritants or pollutants.

“Underground storage tank" means any petroleum underground storage tank not
excluded or exempted from the definition of underground storage tank under section
6991 of the Hazardous and Solid Waste Amendments of 1984, including any attached
underground pumps and piping, if such tank is owned or operated by you.

“Underground storage tank incident" means any spilling, leaking, emitting, discharging,

escaping, leaching or disposing of petraleum from an “underground storage tank” into
ground water, surface water or subsurface soils.

All other provisions of this policy apply.

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THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF THE POLICY,
PLEASE READ IT CAREFULLY.

DWELLING PROPERTY
VACANCY PERMISSION - PENNSYLVANIA

We grant permission for your dwelling to be vacant during the policy period, subject to the
following changes to your policy:

COVERAGES

If coverage is shown for Residence Burglary on the Declarations, Item B. under Exclusions
and the Special Condition, Vacancy or Unoccupancy, is deleted from Form $1B37,
Residence Burglary.

PERILS INSURED AGAINST

Under item 10., Vandalism or malicious mischief, Paragraph c. is deleted,

Ail other provisions of this policy apply.

$1237 (02/12) Page 1 of 1
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THIS ENDORSEMENT 1S ATTACHED TO AND MADE PART OF THE POLICY.
PLEASE READ IT CAREFULLY.

DWELLING PROPERTY
CRIMINAL ACTS EXCLUSION - PENNSYLVANIA

GENERAL EXCLUSIONS

The following Exclusion A.9. is added:

Criminal Acts, meaning any loss resulting from the criminal acts of any. insured
person, including tenants and/or their relatives, on the Described Location,

All other provisions of this policy apply,

$1937 (05/05) Page 1 of 1
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THIS ENDORSEMENT |S ATTACHED TO AND MADE PART OF THE POLICY.
PLEASE READ IT CAREFULLY.

DWELLING PROPERTY
FRAUD WARNING - PENNSYLVANIA

Any person who knowingly and with intent to defraud any insurance company or other
person files an application for insurance or statement of claim containing any materially
false information or conceals for the purpose of misleading, information concerning any fact
material thereto commits a fraudulent insurance act, which is a crime and subjects the
person to criminal and civil penalties.

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DWELLING PROPERTY
GENERAL CHANGE - PENNSYLVANIA

THIS ENDORSEMENT |S ATTACHED TO AND MADE PART OF YOUR POLICY NUMBER
AND |S EFFECTIVE (12:01 A.M. STANDARD TIME) |

CHANGE OF NAME Name.
INSURED . Address

( )

 

 

 

 

 

ADDRESS CHANGE New Address

 

 

 

Description of Home

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHANGE OF HOME Years Make/Model
( Serial No. we «=bFeNgth Width
ADDED HOME Liability Limit
{  ) Premium $ Add". ( } Return {(  }
INCREASED LIMITS Description of added Coverages and Liability Limits
OR Coverages Liability Limits Additional Premium
ADDITIONAL won .
POVERAGES
REDUCED LIMITS Description of Eliminated or Reduced Coverage
OR Coverages Liability Limits Return Premium
COVERAGE es so une
ELIMINATION
OTHER
( )
ADJ.
TERM-PREM COMP COLL VSI CPL P.D. STRUCT.
TOTAL
PREMIUM

POMPUTATION

All other provisions of this policy apply.

 

 

 

 

 

DATE ISSUED AUTHORIZED SIGNATURE

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THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF THE POLICY.
PLEASE READ IT CAREFULLY,

DWELLING PROPERTY
CANCELLATION AND NON-RENEWAL
PENNSYLVANIA

CONDITIONS
Item 17., Cancellation is deleted and replaced by the following:

a. You may cancel this policy at any time by returning it to us or by notifying us in
writing of the date cancellation Is to take effect.

b. We may cancel this policy subject to the provisions of this condition by notifying
you in writing of the date cancellation takes effect and the reason for cancellation.
his cancellation notice may be delivered to or mailed to you at the mailing
address known to us: if mailed, it will be by registered or first class mail.

Proof of mailing will be sufficient proof of notice.

(1) When this policy has been in effect for less than 60 days and is not a renewal
with us, we may cancel for any reason by notifying you at least 30 days
before the date cancellation takes effect,

(2) When this policy has been in effect for 60 days or more, or at any time if it is
a renewal with us, we may cancel only for one or more of the fol owing
reasons:

(a) you have made a material misrepresentation which affects the insurability
of the risk. Notice of cancellation will be mailed or delivered at least 15
days before the effective date of cancellation,

{b) you have failed to pay a premium when due, whether the premium is
payable directly to us or our agents or indirectly under a premium finance
plan or extension of credit. Notice of cancellation will be mailed at least
15 days before the effective date of cancellation.

(c) a condition, factor or loss experience material to insurability has changed
substantially or a substantia! condition, factor or loss experience materia]
to insurability has become known during the policy period, Notice of
cancellation will be mailed or delivered at least 60 days before the
effective date of cancellation.

(d) loss of reinsurance or a substantial decrease in reinsurance has occurred,
which loss or decrease, at the time of cancellation, shall be certified ta
the Insurance Commissioner as directly affecting in-force policies. Notice
of cancellation will be mailed or delivered at least 60 days before the
affective date of cancellation.

(8) material failure to comply with policy terms, conditions or contractual
duties. Notice of cancellation will be mailed or delivered at least 60 days
before the effective date of cancellation.

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(f) other reasons that the Insurance Commissioner may approve. Notice of
cancellation will be mailed or delivered at least 60 days before the
effective date of cancellation,

This policy may also be cancelled from inception upon discovery that the
policy was obtained through fraudulent statements, omissions or concealment
of fact material to the acceptance of the risk or to the hazard assumed by us.

c. If this policy is cancelled, we will sand you any Premium refund due. (f we cancel,
the refund will be pro rata and will be returned within 10 business days after the
effective date of cancellation. If you cancel, the refund may be less than pro rata
and will be returned within 30 days after the effective date of cancellation. The
cancellation will be effective even if we have not made or offered a refund.

Item 18., Non-Renewal, is deleted and replaced by the following:

If we decide not to renew this policy, we will mail or deliver written notice of nonrenewal,
stating the specific reasons for nonrenewal, to you at least 60 days before the expiration of
the policy.

The following Item 26., Increase [n Premium, is added:

If we increase your renewal premium, we will mail or deliver to you:

a. written notice of our intent to increase the premium at least 30 days before the
effective date of the premium increase: an

b. an estimate of the increase at least 30 days before the effective date of the
premium increase.

Any notice of nonrenewal or renewal premium increase will be mailed or delivered to
you at the last mailing address known to us. if notice is mailed, it will be by registered
ar first class mail.

All other provisions of this policy apply.

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H CLE POL 5178
vy Insured Name:
As CAPITAL FLIP LLC BRAD SOMMER
ies _ a Date Prepared: March 16, 2018
Mosier AMERICAN MODERN SELECT INSURANCE COMPANY POLICY NUMBER: 085 004 853 7190

 

BROKER 986950:

JOHN JOSEPH SUPPA
2520 MATTERHORN DR
WEXFORD PA 15090

NO85 039595 0048537190 37 WEB DW
CAPITAL FLIP LLC BRAD SOMMER

8 MARKET SQ

PITTSBURGH PA 15222

Dear Customer,

Thank you for choosing American Modern Select Insurance Company and JOHN JOSEPH SUPPA for your
DWELLING insurance needs. | am writing to provide you with your insurance policy and declarations page. Pleasa
review the information carefully, and keep the documents in your records. The premium for your policy is $773,00,
Thank you for paying in advance of your due date,

You can count on us to continue providing the kind of protection and service you expect from your insurance
provider. |f you have questions about this insurance policy, please contact JOHN JOSEPH SUPPA AT (412)

238-8200,
Again, thank you for choosing American Modern Select Insurance Company. We appreciate your business... and

your trust!

Very truly yours,

Oe

President

YOU WILL SOON RECEIVE YOUR BILLING PAYMENT SCHEDULE
WHICH WILL INDICATE THE DATE AND AMOUNT THAT WILL BE
DEDUCTED FROM YOUR BANK ACCOUNT EACH MONTH,
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PENNSYLVANIA FRAUD NOTICE

Any person who knowingly and with intent to defraud any insurance company or other person
files an application for insurance or statement of claim containing any materially false information
or conceals for the purpose of misleading, information concerning any fact material thereto
commits a fraudulent insurance act, which is a crime and subjects such person to criminal and

civil penalties,

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3180

IMPORTANT NOTICE
BILLING REFERENCE INFORMATION

Payment Services|
Online Services www.amig.com

s
e Automated Customer Service and Direct Customer Care: 1-800-543-2644
e Agents Office: (412) 238-8200
e Company Addresses
Standard Mailing: Overnight Mailing:
American Modern Insurance Group American Modern Insurance Group
PO BOX 740429 Attn: Accounting Dept,
Cincinnati, Ohio 45274-0429 7000 Midland Blvd.

Amelia, Ohio 45102

Installment Payment Plan Options
e Payment plan options are flexible, and vary by product, Your agent can advise which

options are available for your account.
es Electronic Funds Transfer (EFT) is available for monthly automatic withdrawals from your

checking or savings account or credit card. You may choose your payment withdrawal
day of the month.

How You Pay
e Electronic (one time) payments can be made from a checking or savings account, debit

card, and the following credit cards: Visa, MasterCard, Discover and American Express.
e Paper payments can be made by check or money orders. When you provide a check as
payment, you authorize us either to use information from your check to make a one-time
electronic funds transfer from your account or to use payment as a check transaction,
e Payments can be made online Monday thraugh Friday from 7:00am to 12:00am EST,
and Saturday and Sunday from 8:00am to 9:00pm EST,

Charges

¢ Service Charge of $1.00 applies for each instaliment, except for annual payment plans.

e Late Charge of $5.00 may be assessed, if payment is received after due date and a
notice of cancellation is generated, ‘

« Reinstatement Charge of $5.00 will be assessed if the company elects to rewrite or
reinstate your policy when the amount due is paid after the cancellation date.
Reinstatement is not guaranteed and may or may not include a gap in coverage.

Non Sufficient Funds (NSF) Charge of $20.00 will be assessed for any payments
returned from the issuing bank due to unavailable funds,

IN150 (06/1 2) Page 1 of 1
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518k

IMPORTANT NOTICE TO POLICYHOLDERS
FLOOD AND EARTHQUAKE EXCLUSION

This notice is to advise you that your policy excludes coverage for damage due to Flood or
Earthquake, unless you purchase coverage for these perils,

Flood includes surface water, waves, tidal water, tidal waves, storm surge, wind driven water
(including hurricane winds), or any other overflow of water, and spray from any of these events,
To be covered for such a loss, you will have to obtain a separate flood insurance policy through

the National Fload Insurance Prograrn (NFIP).

Earthquake includes land shock waves or tremors before, during or after a volcanic eruption. To
be covered for such a loss, you will have to obtain a separate endorsement, which may be
available through our company.

Your agent can provide you with information on obtaining flood insurance through the National
Flood Insurance Program, or to obtain separate earthquake coverage,

You can learn more about the National Flood Insurance Program at www. floodsmart.gov or by
calling (888) 379-9531.

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CF American American Modern Select Insurance Company

\_)’ MODERN.

CAPITAL FLIP LLC BRAD SOMMER May 06, 2018
6 Market Sq
Pittsburgh, Pennsylvania 15222-1813

RE Insured: CAPITAL FLIP LLC BRAD Cause of Loss: Injury or Damage caused by Animai
: ECaliiamber: 430126AA Date of Loss: April 24, 2018
Policy Number; 0048537190

Dear CAPITAL FLIP LLC BRAD SOMMER:

We have reviewed your claim concerning the damage caused to the attic and exterior of your property,
located at 1419 Iroquois Drive, Pittsburgh, PA 15205. In my inspection of the property, | could find no
covered damage to the property. As such, your loss must respectfully be denied,

Please note that your DWELLING PROPERTY BASIC FORM DP-1 policy lists on page 3 of 8, entitled
PERILS INSURED AGAINST, the named perils covered by your policy. This section states:

PERILS INSURED AGAINST

Unless the loss is excluded in the General Exciusions, we insure for direct physical loss to the property
covered caused by:

1. Fire or lightning.

2.a, Internal Explosion, meaning explosion occurring in the dwelling or other structure
covered on the Described Location or in a structure containing personal property
covered.

b. Explosion does not mean:

1. electric arcing;
2. breakage of water pipes; or
3. breakage or operation of pressure relief devices, “~~~

c. This peril does not include loss by explosion of steam boilers, or steam pipes, if owned
or leased by you or operated under your control.

When a Premium for Extended Coverage is shown in the Declarations, Perils 3. through 9. are
made part of Perils Insured Against,

PEXECUTIVE OFFICES / P.O, BOX 5323 / CINCINNATI, OHIO 45201-5323 / TEL. (513) 943-7200
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Windstorm or hail.
This peril does not include loss:

a. to the Inside of a building or the property contained in a building caused by rain,
snow, sleet, sand or dust unless the direct force of wind or hall damages the
building causing an opening in a roof or wall and the rain, snow, sleet, sand or dust
enters through this opening;

b. to the following property when outside of the building:
(1) awnings, signs, radio or television antennas or aerials including lead-in

wiring, masts or towers; or
(2) canoes and rowboats.

Explosion.

a. This peril does not include loss by explosion of steam boilers or steam pipes, if
owned or leased by you or operated under your control,

b. Explosion does not mean:

(1) electric arcing;
(2) breakage of water pipes; or
(3) breakage or operation of pressure relief devices.

C. This peril replaces Peril 2.
Riot or civil commotion,
Aircraft...

Vehicles...

Smoke...

Volcanic Eruption...

When a Premium for Vandalism or Malicious Mischief is shown in the Declarations, the following is
made part of PERILS INSURED AGAINST.

10,

Vandalism or malicious mischief, This peril does not include loss:

a. to glass or safety glazing material constituting a part of the building other than glass
building blocks;

b. by pilferage, theft, burglary or larceny, but we will be liable for damage to the
building covered caused by burglars; or

c. to property on the Described Location if the dwelling has been vacant for more than
30 consecutive days immediately before the loss. A dwelling being constructed is not

considered vacant.

EXECUTIVE OFFICES / P.O. BOX 5323 / CINCINNATI, OHIO 45201-5323 / TEL, (513) 943-7200
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Since your loss was the result of an animal or animals damaging the dwelling and this is not covered in
the list of perils, as stated above, there is no coverage under your policy for the loss. Therefore, your
claim is respectfully denied.

By setting forth the basis of this denial, American Modern Select insurance Company expressly reserves
all rights and defenses available to it under the Policy and applicable law. The specificity of this denial
does not waive any rights, or any other applicable Policy provisions or law, Additional policy provisions
within the Policy and/or applicable law may affect coverage for the Claim and American Modern Select
Insurance Company does not waive such provisions or applicable law or its rights to otherwise alter or
amend its coverage analysis for any reason.

If you believe there is any additional information which we have not been provided that may affect our
position or if our understanding of the facts is in error, kindly bring it to our attention and we will be
pleased to review It. However, you should not construe our willingness to consider any additional
information you may wish to provide as anything other than our desire to be fair and open-minded. This
declination is and remains our final position unless we expressly advise you to the contrary,

| wish that | could be of greater assistance to you. Please contact me should you have any questions

regarding the company’s position.

Sincerely,
Bryan Langford
Adjuster

American Modern Select Insurance Company
Phone: 866-637-3610

Fax: 513-388-5930

Email: blangford@amig.com

 

Online Services

The paperless way for customers to view insurance documents any time, any place.
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Note: In addressing you at this time American Modern Select Insurance Company specifically reserves the right to
deny and defend against this claim for the above referenced reason(s) or for any other lawful reason. No waiver or

estoppel is intended or inferred.

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ZIMMER KUNZ ITTSBURGILPAIS2

— a . (412) 281-8000
PROFESSIONAL LIMITED LIABILITY COMPANY AN 1D) 981-1765

ATTORNEYS AT LAW

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JOSEPH W. SELEP (PA & WV) MACEL E. RHODES (WY) ADAM S AUCHEY (PA & WY) (304) 292-853 |
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MATTHEW G. BRENEMAN (PA & WY) JOHN J. GAUGHAN (PA) HARRY J. ZIMMER FAX (724) 836-5149

E-Mail:ramaley@zklaw.com
Direct Dial No.: (412) 434-5408

September 7, 2018
Capital Flip LLC
ATTN: Brad Sommer
6 Market Square
Pittsburgh, PA 15222

Re: Date of Loss: 4/24/2018

Dear Mr. Sommer:

You have submitted a claim under a policy of insurance issued by American Modern
Select Insurance Company to Capital Flip LLC, Brad Sommer. Previously, a representative of
the carrier had come to the location, inspected it and took photographs.

You informed a representative of my client that damage was caused by a wild animal to
the attic and exterior of the property, located at 1419 Iroquois Drive, Pittsburgh, PA 15205.

As conveyed to you by letter dated May 6, 2018, the insurance carrier has concluded that
there is no coverage under the policy for damage caused by a wild animal.

The policy insures against direct physical loss to covered property caused by, inter alia,
vandalism or malicious mischief. It is my understanding that you have directed the insurance
carrier to the following provision of the policy as a possible basis for coverage for this loss. The
policy provides, in pertinent part, as follows:

Unless the loss is excluded in the GENERAL EXCLUSIONS, we
Insure for direct physical loss to the property covered caused by...
Vandalism or malicious mischief. This peril does not include loss:

a. to glass or safety glazing material constituting a part of the
building other than glass building blocks;
b. by pilferage, theft, burglary or larceny, but we will be liable for

  

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damage to the building covered caused by burglars; or

c, to property on the Described Location if the dwelling has been
vacant for more than 30 consecutive days immediately before
the loss. A dwelling being constructed is not considered vacant.

American Modern granted permission for the dwelling to be vacant during the policy
period and, therefore, deleted sub-paragraph c from the vandalism or malicious mischief
provision in the policy. However, all other provisions of the policy apply.

We have been unable to locate any case law in Pennsylvania concerning whether animal
damage is covered under the vandalism/malicious mischief provision in an insurance policy.
However, courts in New Mexico, New York and Alabama have held that animal damage is not
covered under the vandalism or malicious mischief provision of a policy.

Although there is no case law in Pennsylvania concerning whether animal damage is
covered under the vandalism or malicious mischief provision, Pennsylvania courts have noted
that vandalism and malicious mischief, as construed in insurance policies, require proof that the
act was done willfully and intentionally. A search for other case law in this area has failed to
disclose a case in which similar language has been construed under similar facts to reach the
conclusion that there would be coverage for a loss caused by a wild animal.

The language, on its face, is unambiguous. The standard dictionary definition of
vandalism, as discussed in the cases decided outside of Pennsylvania, and referenced above,
leads to the conclusion that a wild animal cannot form the intent necessary to commit vandalism.
Nor would it appear that a wild animal could commit malicious mischief,

Under a plain reading of the policy, vandalism requires proof of an actual purpose, design
or intent to injure, damage or destroy. Therefore, it would not apply to damage caused by a wild
animal,

Should you have any questions or concerns in this matter, please do not hesitate to
contact me.

Very truly yours,
a |

   

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